                 IN THE DISTRICT COURT OF THE UNITED STATES
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             STATESVILLE DIVISION
                      CRIMINAL DOCKET NO. 5:13cr25-1-RLV


UNITED STATES OF AMERICA                         )
                                             )
                                                 )
              vs.                                )             ORDER
                                                 )
ARELI NAVA RODRIGUEZ                             )
______________________________ )


       THIS MATTER is before the Court upon Defendant’s Motion To Continue Trial

Date And To File Under Seal from the September 3, 2013, criminal term, in the

Statesville Division.

       For the reasons stated in Defendant’s Motion and upon a showing that defense

counsel has not had sufficient time within which to adequately prepare in this case,

taking into account the exercise of due diligence, the Court will allow the continuance.

18 U.S.C. § 3161(h)(8)(B)(iv).     The Court further finds that the ends of justice served

by taking such action as requested by the Defendant outweigh the best interest of the

public and the Defendant to a speedy trial.

       IT IS, THEREFORE, ORDERED that the Defendant’s Motion for a continuance,

and to file the Motion under seal is GRANTED, This case is hereby continued from the

September 2013, criminal term in the Statesville Division to the November 12, 2013,

criminal term in the Statesville Division.



                                      Signed: August 1, 2013




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